                         Case 22-14616-nmc                             Doc 177               Entered 05/15/23 11:09:53                                 Page 1 of 27

 Fill in this information to identify your case:

 Debtor 1                   Robin Linus Lehner
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Donya Tina Lehner
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF NEVADA

 Case number           22-14616-nmc
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $          5,157,708.69

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          5,157,708.69

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,700,000.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              19,499.67

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $         25,640,744.33


                                                                                                                                     Your total liabilities $           27,360,244.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $             231,695.24

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              52,509.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                       Case 22-14616-nmc                             Doc 177   Entered 05/15/23 11:09:53               Page 2 of 27
 Debtor 1      Robin Linus Lehner
 Debtor 2      Donya Tina Lehner                                                          Case number (if known) 22-14616-nmc
             the court with your other schedules.

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

       9d. Student loans. (Copy line 6f.)                                                                 $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


       9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information           page 2 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                       Case 22-14616-nmc                  Doc 177                Entered 05/15/23 11:09:53                  Page 3 of 27

Fill in this information to identify your case and this filing:

Debtor 1                    Robin Linus Lehner
                            First Name               Middle Name                     Last Name

Debtor 2                    Donya Tina Lehner
(Spouse, if filing)         First Name               Middle Name                     Last Name


United States Bankruptcy Court for the:       DISTRICT OF NEVADA

Case number           22-14616-nmc                                                                                                              Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       Rolls Royce                       Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      Phantom                              Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2019                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:           18,000            Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another
         Lease with Putnam Leasing,
         commenced 10/20/20, 60                            Check if this is community property                             Unknown                      Unknown
         months @ $4,995/month, with a                      (see instructions)

         purchase balloon of $165,000;
         $50,000 downpayment (debtor
         intends to reject)


  3.2     Make:       Mercedes Benz                     Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      G63 AMG                              Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2019                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:           34,000            Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another
         Lease with Putnam Leasing,
         commenced 7/30/20, 36 months                      Check if this is community property                             Unknown                      Unknown
         @ $3,939.43/month, with a                          (see instructions)

         purchase option of $60,000;
         $25,000 down payment already
         made, VIN *7433 (debtor intends
         to assume)

Official Form 106A/B                                                Schedule A/B: Property                                                                    page 1
                      Case 22-14616-nmc                        Doc 177             Entered 05/15/23 11:09:53                           Page 4 of 27
Debtor 1       Robin Linus Lehner
Debtor 2       Donya Tina Lehner                                                                                   Case number (if known)      22-14616-nmc


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     No
     Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                   $0.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                                   Miscellaneous household goods; See Exhibit B for detail; value
                                   per appraisal.                                                                                                             $9,790.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                                   Miscellaneous electronics; See Exhibit B for detail; value per
                                   appraisal.                                                                                                                 $2,050.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

                                   12 Assorted Purses; value per appraisal.                                                                                   $1,300.00


                                   Old hockey gear and memorabilia                                                                                            Unknown


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
      Yes. Describe.....

                                   Misc. Hobby Equipment: Aquariums and equipment. See Exhibit B
                                   for detail; value per appraisal.                                                                                           $2,940.00


                                   Coral reefs and miscellaneous equipment used for upkeep (to be
                                   utilized for RL Exotics).                                                                                                  Unknown




Official Form 106A/B                                                  Schedule A/B: Property                                                                      page 2
                          Case 22-14616-nmc                                    Doc 177                   Entered 05/15/23 11:09:53          Page 5 of 27
Debtor 1         Robin Linus Lehner
Debtor 2         Donya Tina Lehner                                                                                          Case number (if known)   22-14616-nmc


                                          Misc. Sport equipment: Telescope and Peloton Bicycle                                                                       $745.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                          Misc. used clothing and shoes                                                                                             Unknown


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                          Women's Rolex Watch (gift from husband)                                                                                   Unknown


                                          Wedding Ring                                                                                                              Unknown


                                          Diamond nail bracelet (gift from husband)                                                                                 Unknown


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                                          Three dogs                                                                                                                    $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                         $16,825.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
     No

Official Form 106A/B                                                                     Schedule A/B: Property                                                         page 3
                        Case 22-14616-nmc                   Doc 177            Entered 05/15/23 11:09:53             Page 6 of 27
Debtor 1        Robin Linus Lehner
Debtor 2        Donya Tina Lehner                                                                    Case number (if known)   22-14616-nmc

      Yes........................                                         Institution name:
                                                                          Deferred Compensation from VGK ($100,000
                                             Withholding from             as of Petition Date); Debtor has not received
                                    17.1.    paycheck                     yet                                                           $100,000.00


                                                                          Bank Account - City National Bank, Account
                                    17.2.    Checking                     No. *4123                                                      $48,766.02


                                                                          Bank Account - City National Bank, Account
                                    17.3.    Checking                     No. *3296                                                     $498,958.80

                                                                          Projected Player's share of VGK Escrow per
                                                                          Collective Bargaining Agreement between
                                                                          NHLPA and NHL, and accrued through the
                                             Withholding from             Petition Date only; Debtor has not received
                                    17.4.    paycheck                     yet, and won't until end of season                            $435,581.08


                                             Checking; Acct.              Swedeb Bank Account (Swedish Krona
                                    17.5.    No. 5389                     78082,01 x US exchange rate of $.095)                              $7,417.79


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                      % of ownership:

                                      Westridge Property Management, LLC: owns
                                      9501 Balatta Canyon Court, Las Vegas, NV
                                      89144, Debtor's residence; property is worth
                                      approximately $3.25 million, but has a deed of
                                      trust in favor of South River Capital, LLC in first
                                      position in the amount of at least $2.787 million,
                                      which was due and payable in fully by 1/1/23                         100          %             $3,250,000.00


                                      Lehner Enterprises, LLC: (I) per Agreement
                                      dated October 22, 2020, Lehner Enterprises, LLC
                                      transferred to Michael Lehner 100% of RL Solar,
                                      LLC, which in turn, owns certain intellectual
                                      property, and 100% of SolarCode Holdings, LLC,
                                      which in turn, owes 100% of the membership
                                      interersts in SolarCode, LLC, SolarCode
                                      Manufacturing, LLC, and SolarCode
                                      Management, LLC, and 85% of Sunshine Alley,
                                      LLC, but subject to a promissory note in the
                                      amount of $15.3 million and 50-50 profit share;
                                      (II) owns business bank account at Bank of
                                      America, Account No. *7984; (III) owns an
                                      abandoned trademark for "SolarCode" USPTO
                                      Serial No. 88914010 (SolarCode, LLC has a
                                      current live trademark for the same as Serial No.
                                      97138055)                                                            100          %                    Unknown




Official Form 106A/B                                               Schedule A/B: Property                                                        page 4
                         Case 22-14616-nmc                     Doc 177          Entered 05/15/23 11:09:53                    Page 7 of 27
Debtor 1        Robin Linus Lehner
Debtor 2        Donya Tina Lehner                                                                           Case number (if known)      22-14616-nmc


                                          RL Exotics, LLC: operates reptile farm in Plato,
                                          Missouri; has business bank account at Bank of
                                          America, Account No. *0536; and Paypal
                                          account, Account No. *BQ4S                                               100        %                        Unknown


                                          42055 Dawn Road LLC: owns 42055 Dawn Road,
                                          Plato, Laclede County, Missouri 65552; property
                                          believed to be worth approximately $800,000, but
                                          is encumbered by a mortgage in favor of
                                          Heritage Bank of the Ozarks that is now past due                         100        %                   $800,000.00


                                          IguanaLand, LLC: membership interest in reptile
                                          and avian zoo located at 33900 Bermont Rd,
                                          Punta Gorda, FL 33982                                                    20         %                        Unknown


                                          Panda Branding, LLC: owns business bank
                                          account at Bank of America, Account No. *1933,
                                          and some intellectual property                                           100        %                        Unknown


                                          Premier Rats, LLC: potential interest (unknown);
                                          entity never did anything                                               100%        %                        Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                            Institution name:

                                        NHL Pension                       Sun Life Financial, Account No. *1365                                        Unknown


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

Official Form 106A/B                                                 Schedule A/B: Property                                                               page 5
                    Case 22-14616-nmc                   Doc 177          Entered 05/15/23 11:09:53                    Page 8 of 27
Debtor 1      Robin Linus Lehner
Debtor 2      Donya Tina Lehner                                                                      Case number (if known)     22-14616-nmc

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                TY 2022 anticipated refund (return not yet
                                                    prepared)                                              Federal and state                      Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                Beneficiary:                             Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
      Yes. Describe each claim.........

                                             Potential claim against Milos Andric - various causes of
                                             action                                                                                               Unknown


                                             Potential claim against Paul Croft - various causes of action                                        Unknown




Official Form 106A/B                                          Schedule A/B: Property                                                                    page 6
                        Case 22-14616-nmc                             Doc 177               Entered 05/15/23 11:09:53                                  Page 9 of 27
Debtor 1        Robin Linus Lehner
Debtor 2        Donya Tina Lehner                                                                                               Case number (if known)        22-14616-nmc


                                                         Potential claim against David Herrera - various causes of
                                                         action                                                                                                              Unknown


                                                         Potential claims against Aliya Growth Fund                                                                          Unknown


                                                         Potential claim against SureSports - various causes of action                                                       Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................         $5,140,723.69


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.

      Yes. Go to line 38.


                                                                                                                                                                Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

38. Accounts receivable or commissions you already earned
       No
       Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
      No
       Yes. Describe.....


                                       Miscellaneous office furniture; See Exhibit B for detail; value per
                                       appraisal.                                                                                                                             $160.00


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
       No
       Yes. Describe.....


41. Inventory
       No
       Yes. Describe.....


42. Interests in partnerships or joint ventures
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                                                 % of ownership:
Official Form 106A/B                                              Schedule A/B: Property                                                                                         page 7
                       Case 22-14616-nmc                             Doc 177               Entered 05/15/23 11:09:53                                 Page 10 of 27
Debtor 1        Robin Linus Lehner
Debtor 2        Donya Tina Lehner                                                                                               Case number (if known)        22-14616-nmc



43. Customer lists, mailing lists, or other compilations
      No.
      Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                 No
                 Yes. Describe.....


44. Any business-related property you did not already list
       No
       Yes. Give specific information.........



45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here.....................................................................................................................              $160.00

Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
       Yes. Give specific information.........

                                            Rights under Agreement dated 10/22/20 by and between Lehner
                                            Enterprises, LLC, Robin Lehner, and Michael Lehner, including
                                            Promissory Note from Michael Lehner to pay $15.3 million to Lehner
                                            Enterprises, LLC, and Robin Lehner to receive 50% of the net profits in
                                            both SolarCode Holdings, LLC, or its related entities, and Ecoboost
                                            USA, LLC, or its related entities, and also an equally diluted profits
                                            interest therein upon the sale or transfer of a membership interest
                                            therein to a third party. SolarCode group of companies have their own
                                            bank accounts at Bank of America, which are not listed herein.                                                                   Unknown



54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00




Official Form 106A/B                                                          Schedule A/B: Property                                                                            page 8
                        Case 22-14616-nmc                               Doc 177                Entered 05/15/23 11:09:53                                       Page 11 of 27
Debtor 1         Robin Linus Lehner
Debtor 2         Donya Tina Lehner                                                                                                     Case number (if known)       22-14616-nmc

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                          $0.00
56. Part 2: Total vehicles, line 5                                                                              $0.00
57. Part 3: Total personal and household items, line 15                                                    $16,825.00
58. Part 4: Total financial assets, line 36                                                             $5,140,723.69
59. Part 5: Total business-related property, line 45                                                          $160.00
60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
61. Part 7: Total other property not listed, line 54                                             +              $0.00

62. Total personal property. Add lines 56 through 61...                                                 $5,157,708.69                Copy personal property total              $5,157,708.69

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                          $5,157,708.69




Official Form 106A/B                                                              Schedule A/B: Property                                                                               page 9
                         Case 22-14616-nmc             Doc 177       Entered 05/15/23 11:09:53                   Page 12 of 27




Fill in this information to identify your case:

Debtor 1                    Robin Linus Lehner
                            First Name             Middle Name              Last Name

Debtor 2                    Donya Tina Lehner
(Spouse if, filing)         First Name             Middle Name              Last Name


United States Bankruptcy Court for the:         DISTRICT OF NEVADA

Case number              22-14616-nmc
(if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                      Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                        Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Robin Linus Lehner                                             X   /s/ Donya Tina Lehner
             Robin Linus Lehner                                                 Donya Tina Lehner
             Signature of Debtor 1                                              Signature of Debtor 2

             Date       May 15, 2023                                            Date    May 15, 2023




Official Form 106Dec                               Declaration About an Individual Debtor's Schedules
     Case 22-14616-nmc   Doc 177   Entered 05/15/23 11:09:53   Page 13 of 27




                     EXHIBIT – B
 This schedule contains the following Exhibits:

1.     Exhibit B 6 – Household Goods and Furnishings
2.     Exhibit B 7 – Electronics
3.     Exhibit B 8 – Collectibles of Value
4.     Exhibit B 9 – Sports and Hobby Equipment
5.     Exhibit B 39 – Office Equipment, Furniture, and
       Supplies




                     EXHIBIT – B
        Case 22-14616-nmc    Doc 177   Entered 05/15/23 11:09:53   Page 14 of 27


B6: Household Goods and Furnishings
 1. GRAY SECTIONAL SOFA                                        $475.00
 2. GRAY OAK 4-DRAWER CHEST                                     $40.00
 3. (4) BAR STOOLS                                             $180.00
 4. (2) BAR STOOLS                                              $50.00
 5. LARGE ROUND COCKTAIL TABLE                                 $175.00
 7. 10’ DARK WOOD CREDENZA CABINET                             $450.00
 8. ASSORTED HOLIDAY DECORATIONS                               $200.00
10. ROUND UPHOLSTERED CHAIR                                     $50.00
11. SMALL ROUND END TABLE                                       $30.00
12. NESPRESSO MACHINE                                           $60.00
13. ELITE GOURMET TOASTER                                       $20.00
14. KITCHEN MISCELLANEOUS (POTS, PANS, DISHES, UTENSILS, ETC   $250.00
15. 12’ DINING TABLE & (10) UPHOLSTERED CHAIRS               $1,200.00
16. 8’ GRAY OAK BUFFET CABINET                                 $375.00
17. VACUUM CLEANER                                              $40.00
18. ASSORTED SMALL DECORATOR ITEMS                             $150.00
19. BLUE SECTIONAL SOFA                                        $375.00
20. COCKTAIL TABLE                                              $75.00
21. TEA CART                                                    $50.00
22. ASSORTED HOLIDAY DECORATIONS                               $275.00
23. ROUND MAHOGANY LAMP TABLE                                  $100.00
24. BOOKCASE                                                    $70.00
25. (2) BLUE UPHOLSTERED BENCHES                               $100.00
33. ASSORTED CHRISTMAS DECORATIONS                             $150.00
34. (4) VASES                                                   $40.00
36. (3) LARGE DECORATOR MIRRORS                                $600.00
37. KING SIZE BED                                              $250.00
38. (2) NIGHTSTANDS                                            $110.00
39. PR OF LAMPS                                                 $45.00
40. PR OF WINGBACK CHAIRS                                       $90.00
42. 8-DRAWER DRESSER                                           $350.00
46. SQUARE OTTOMAN                                              $25.00
47. ROUND OTTOMAN                                               $25.00
48. (2) TWIN BEDS                                              $200.00
49. NIGHTSTAND                                                  $40.00
50. 10-DRAWER DRESSER                                          $100.00
52. QUEEN BED                                                  $150.00
54. (2) NIGHTSTANDS                                             $90.00
55. PR OF LAMPS                                                 $25.00
56. SIDE CHAIR                                                  $15.00
57. 6-DRAWER DRESSER                                           $125.00
58. (2) 6-DRAWER CHESTS                                        $220.00
59. QUEEN BED                                                  $150.00
60. (2) NIGHTSTANDS                                            $100.00
61. PR OF LAMPS                                                 $60.00
63. UNSIGNED ABSTRACT PRINT                                     $50.00
64. QUEEN BED                                                  $150.00
66. 8-DRAWER DRESSER                                           $350.00
67. PR OF NIGHTSTANDS                                          $110.00
         Case 22-14616-nmc        Doc 177    Entered 05/15/23 11:09:53     Page 15 of 27


68. PR OF LAMPS                                                        $50.00
69. LG WASHER & DRYER                                                 $420.00
70. WOVEN VINYL PATIO TABLE & (4) CHAIRS                              $160.00
71. PR OF WOVEN VINYL LOUNGE SOFAS                                    $200.00
72. WOVEN BAMBOO SOFA, (2) CHAIRS & COCKTAIL TABLE                    $550.00
                                                                    $9,790.00
B7: Electronics
 6. 80” SONY TV                                                       $450.00
26. 65” SAMSUNG TV                                                    $225.00
41. 80” SONY TV                                                       $425.00
51. 65” SAMSUNG TV                                                    $225.00
53. 65” SAMSUNG TV                                                    $225.00
62. 65” SAMSUNG TV                                                    $225.00
65. 70” SAMSUNG TV                                                    $275.00
                                                                    $2,050.00
B8: Collectibles of Value
45. (12) ASSORTED PURSES                                            $1,300.00

B9: Sports and Hobby Equipment
 9. TELESCOPE                                                          $70.00
29. LARGE AQUARIUM                                                    $350.00
30. LADDER                                                             $20.00
32. (7) LARGE AQUARIUMS                                             $2,500.00
31. 6’ LADDER                                                          $30.00
35. (2) LADDERS                                                        $40.00
43. PELOTON BICYCLE                                                   $675.00
                                                                    $3,685.00

B39: Office Equipment, Furniture, and Supplies
27. EXECUTIVE CHAIR                                                       $40.00
28. (2) HP MULTI-MACHINE PRINTERS                                        $120.00
                                                                         $160.00
Case 22-14616-nmc   Doc 177     Entered 05/15/23 11:09:53    Page 16 of 27




    APPRAISAL
     REPORT
                              Prepared For:


                      Matthew C. Zirzow, Esquire
                           Re: Robin Lehner
                      850 East Bonneville Avenue
                       Las Vegas, Nevada 89101




                               Prepared By:

                          Daniel C. Watson
                        2531 Woodson Avenue
                       Henderson, Nevada. 89052



             Member: Certified Appraisers Guild of America
Case 22-14616-nmc                     Doc 177           Entered 05/15/23 11:09:53                        Page 17 of 27




                                        Table of Contents
Title Page....................................................................................................................1
Table of Contents .......................................................................................................2
Summary ....................................................................................................................3
Condition of Appraisal ...............................................................................................4
Certification of Report ...............................................................................................4
Purpose of the Report .................................................................................................5
Method of Valuation ..................................................................................................5
Definition of Value .....................................................................................................5
Basis of Appraisal ......................................................................................................5
Description .................................................................................................................6
Factors Affecting Value .............................................................................................6
Appraiser Qualifications ............................................................................................7
Attachment "A" ..........................................................................................................8-11
Billing Statement .....................................................................................................12
Photographs..............................................................................................................13-18




                                                                    2
     Case 22-14616-nmc         Doc 177      Entered 05/15/23 11:09:53         Page 18 of 27




                                         Summary

     On December 30, 2022 I personally inspected the listed personal property at 9501 Balatta
Canyon Court Las Vegas, Nevada 89144. This was done at the request of Matthew C. Zirzow,
Esquire.




                                              Value
                                          Fair Market Value

                    The fair market replacement value for the personal property is:



                                               $16,985.00




           This is not the appraisal report. The appraisal report must be read in its entirety.




                                                    3
      Case 22-14616-nmc         Doc 177     Entered 05/15/23 11:09:53        Page 19 of 27




                        Condition of Appraisal
      The value stated in this report is based on the best judgment of the appraiser given the facts
and conditions available at the date of the valuation.

     The use of this report is limited to the purpose of determining the value of the personal
property for bankruptcy liquidation purposes. This report is to be used in its entirety only.

      Any additional research or testimony required by the client or the court will be billed at the
current rates.

      Disclosure of the contents of this report is governed by the Standards and Practices of the
Certified Appraisers Guild of America.




                            Certification of Report
      It should be noted that Daniel C. Watson is a disinterested party in this matter. No
prohibited fee was assessed for this report.

      Daniel C. Watson has successfully completed the personal property appraiser certification
program with the Certified Appraisers Guild of America and is a member in good standing. This
report was prepared in accordance with the Standards and Practices of the Certified Appraiser
Guild of America, which has review authority of this report.

      Daniel C. Watson has personally examined the subject property inventory list. The
statements of fact contained in this report are true and correct to the best knowledge and belief of
the appraiser.

  Daniel C. Watson owned Las Vegas Auction, Inc. from 1974 to April 2008 and Nellis Auction
from December 2010 to November 2012 and has varied experience as an auctioneer since 1975
and as an appraiser since 1976. Mr. Watson currently is an independent auctioneer and
appraiser.


     ____________________________________________
      Daniel C. Watson CAGA
      Tax ID XXX-XX-XXXX




                                                    4
      Case 22-14616-nmc        Doc 177      Entered 05/15/23 11:09:53        Page 20 of 27




                            Purpose of the Report
        The purpose of this report is to determine Fair Market Value for bankruptcy liquidation
                                             purposes.




                             Method of Valuation
      The method of valuation for this report is Fair Market Value based on comparable items
sold at Nellis Auction and other local auction houses in the last two years, internet sales and the
use of on line advertisement prices.




                               Definition of Value
                                          Fair Market Value
             Under the United States Treasury regulation 1.170-1© Fair Market Value is defined
                                                 as:

      The price at which the property would change hands between a willing buyer and a willing
 seller, neither being under compulsion to buy or sell and both having reasonable knowledge of
                                         relevant facts.




                                Basis of Appraisal
                                              Valuation Date

                  The date of valuation for determining value is December 30, 2022.


                                         Limitations of Property

                    There were no limitations on use or disposition of this property.




                                                   5
      Case 22-14616-nmc        Doc 177     Entered 05/15/23 11:09:53           Page 21 of 27




                                    Description

                                  See attached list – Attachment “A”




                          Factors Affecting Value

                                              Marketability

       This merchandise is the type of items that would have a large group of potential buyers.



                                                Condition

                            The general condition of this inventory is good.



                                                 Analysis

      This merchandise is in good condition and would sell to a large group of potential bidders.
The following listed prices are based on comparison to similar items sold by Nellis Auction and
other local auction houses within the last two years, on line advertisements and also the use of
price guides.




                                                   6
      Case 22-14616-nmc        Doc 177     Entered 05/15/23 11:09:53        Page 22 of 27




                         Appraiser Qualifications

                                       Daniel C. Watson, CAGA
                                        2531 Woodson Avenue
                                       Henderson, Nevada 89052


      Education

      Graduate Personal Property Appraiser
      Personal property appraiser education program
      December 2009

      Certified Appraisers Guild of America
      Personal property appraiser certification program
      February 1994

      Authorized Nevada Motor Vehicle Dealer
      1995-2008

      Missouri Auction School
      Auctioneer
      January 1978

      Northern Arizona University
      Flagstaff, Arizona
      B. S. Biochemistry
      May 1971

      Work Experience

      Auctioneer and Appraiser

      Forty-eight years as an Auctioneer selling a variety of furniture, antiques, jewelry,
collectibles, art, restaurant equipment, medical equipment, tools, store inventories, firearms,
electronics, boats, aircraft, vehicles and heavy equipment in the Las Vegas area. We sold U. S.
Bankruptcy Liquidations, Clark County Public Administrator Estate and bank foreclosure
auctions.



                                         Attachment “A”



                                                   7
          Case 22-14616-nmc                           Doc 177              Entered 05/15/23 11:09:53                               Page 23 of 27



9501 Balatta Canyon Court:

Den & Kitchen:

 1. GRAY SECTIONAL SOFA ...............................................................................................................$475.00

 2. GRAY OAK 4-DRAWER CHEST .........................................................................................................40.00

 3. (4) BAR STOOLS .................................................................................................................................180.00

 4. (2) BAR STOOLS ...................................................................................................................................50.00

 5. LARGE ROUND COCKTAIL TABLE ................................................................................................175.00

 6. 80” SONY TV .......................................................................................................................................450.00

 7. 10’ DARK WOOD CREDENZA CABINET .......................................................................................450.00

 8. ASSORTED HOLIDAY DECORATIONS ..........................................................................................200.00

 9. TELESCOPE ...........................................................................................................................................70.00

10. ROUND UPHOLSTERED CHAIR ........................................................................................................50.00

11. SMALL ROUND END TABLE..............................................................................................................30.00

12. NESPRESSO MACHINE .......................................................................................................................60.00

13. ELITE GOURMET TOASTER...............................................................................................................20.00

14. KITCHEN MISCELLANEOUS (POTS, PANS, DISHES, UTENSILS, ETC.) ...................................250.00

Living Room & Dining Area:

15. 12’ DINING TABLE & (10) UPHOLSTERED CHAIRS .................................................................1,200.00

16. 8’ GRAY OAK BUFFET CABINET ....................................................................................................375.00

17. VACUUM CLEANER ............................................................................................................................40.00

18. ASSORTED SMALL DECORATOR ITEMS ......................................................................................150.00

19. BLUE SECTIONAL SOFA ..................................................................................................................375.00

20. COCKTAIL TABLE ...............................................................................................................................75.00

21. TEA CART ..............................................................................................................................................50.00

22. ASSORTED HOLIDAY DECORATIONS ..........................................................................................275.00

23. ROUND MAHOGANY LAMP TABLE...............................................................................................100.00

                                                               Attachment “A” Continued
Toy Room:

24. BOOKCASE ............................................................................................................................................70.00


                                                                                        8
          Case 22-14616-nmc                            Doc 177              Entered 05/15/23 11:09:53                               Page 24 of 27




25. (2) BLUE UPHOLSTERED BENCHES ...............................................................................................100.00

26. 65” SAMSUNG TV...............................................................................................................................225.00

Office & Aquarium Room:

27. EXECUTIVE CHAIR ............................................................................................................................40.00

28. (2) HP MULTI-MACHINE PRINTERS ...............................................................................................120.00

29. LARGE AQUARIUM ...........................................................................................................................350.00

30. LADDER .................................................................................................................................................20.00

31. 6’ LADDER.............................................................................................................................................30.00

32. (7) LARGE AQUARIUMS ................................................................................................................2,500.00

Stairs & Hallway:

33. ASSORTED CHRISTMAS DECORATIONS ......................................................................................150.00

34. (4) VASES ...............................................................................................................................................40.00

35. (2) LADDERS .........................................................................................................................................40.00

36. (3) LARGE DECORATOR MIRRORS ................................................................................................600.00

Master Bedroom:

37. KING SIZE BED ...................................................................................................................................250.00

38. (2) NIGHTSTANDS ..............................................................................................................................110.00

39. PR OF LAMPS ........................................................................................................................................45.00

40. PR OF WINGBACK CHAIRS ................................................................................................................90.00

41. 80” SONY TV .......................................................................................................................................425.00

42. 8-DRAWER DRESSER ........................................................................................................................350.00

43. PELOTON BICYCLE ...........................................................................................................................675.00

44. USED CLOTHING .................................................................... NO COMMERCIAL RESALE VALUE

45. (12) ASSORTED PURSES ................................................................................................................1,300.00

46. SQUARE OTTOMAN ............................................................................................................................25.00

                                                               Attachment “A” Continued

47. ROUND OTTOMAN ..............................................................................................................................25.00

Bedroom 2:


                                                                                         9
          Case 22-14616-nmc                           Doc 177             Entered 05/15/23 11:09:53                               Page 25 of 27




48. (2) TWIN BEDS ....................................................................................................................................200.00

49. NIGHTSTAND .......................................................................................................................................40.00

50. 10-DRAWER DRESSER ......................................................................................................................100.00

51. 65” SAMSUNG TV...............................................................................................................................225.00

Bedroom 3:

52. QUEEN BED.........................................................................................................................................150.00

53. 65” SAMSUNG TV...............................................................................................................................225.00

54. (2) NIGHTSTANDS ................................................................................................................................90.00

55. PR OF LAMPS ........................................................................................................................................25.00

56. SIDE CHAIR ...........................................................................................................................................15.00

57. 6-DRAWER DRESSER ........................................................................................................................125.00

Bedroom 4:

58. (2) 6-DRAWER CHESTS .....................................................................................................................220.00

59. QUEEN BED.........................................................................................................................................150.00

60. (2) NIGHTSTANDS..............................................................................................................................100.00

61. PR OF LAMPS ........................................................................................................................................60.00

62. 65” SAMSUNG TV...............................................................................................................................225.00

63. UNSIGNED ABSTRACT PRINT...........................................................................................................50.00

Bedroom 5:

64. QUEEN BED.........................................................................................................................................150.00

65. 70” SAMSUNG TV...............................................................................................................................275.00

66. 8-DRAWER DRESSER ........................................................................................................................350.00

67. PR OF NIGHTSTANDS .......................................................................................................................110.00

68. PR OF LAMPS ........................................................................................................................................50.00

                                                              Attachment “A” Continued

Laundry Room:

69. LG WASHER & DRYER .....................................................................................................................420.00

Patio:


                                                                                      10
        Case 22-14616-nmc                     Doc 177           Entered 05/15/23 11:09:53                      Page 26 of 27




70. WOVEN VINYL PATIO TABLE & (4) CHAIRS ...............................................................................160.00

71. PR OF WOVEN VINYL LOUNGE SOFAS ........................................................................................200.00

72. WOVEN BAMBOO SOFA, (2) CHAIRS & COCKTAIL TABLE ......................................................550.00


Total .........................................................................................................................$16,985.00




                                           Billing Statement
                                                      December 30, 2022




                                                                          11
    Case 22-14616-nmc          Doc 177       Entered 05/15/23 11:09:53          Page 27 of 27




  Matthew C. Zirzow, Esquire
  Re: Robin Lehner
  859 East Bonneville Avenue
  Las Vegas, Nevada 89101


  RE: Personal Property Appraisal /

4.4 hour @ $75.00 per hour=$330.00


    APPRAISAL FEE .......................................................................... $330.00




    PLEASE REMIT TO: Daniel C. Watson
                  2531 Woodson Avenue
                   Henderson, Nevada 89052




                                  Thank you!




                                                    12
